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                               UNITED STATES DISTRICT COURT
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                             NORTHERN DISTRICT OF CALIFORNIA
19                                  OAKLAND DIVISION

20

21   IN RE COLLEGE ATHLETE NIL                       Case No. 4:20-cv-03919-CW
     LITIGATION
22                                                   SUPPLEMENTAL BRIEF IN SUPPORT
                                                     OF JOINT MOTION FOR APPROVAL OF
23                                                   ADDITIONAL SETTLEMENT CLASS
                                                     COMMUNICATIONS
24
                                                     Judge: Hon. Claudia Wilken
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                                                     SUPP. BRIEF ISO JOINT MOT. FOR APPROVAL
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 1          Plaintiffs and Defendants jointly submit this supplemental brief addressing the Court’s
 2   Tentative Ruling on their Joint Motion for Approval of Additional Settlement Class
 3   Communications. See Dkt. No. 582.
 4          The parties agree to the revised question-and-answer document (Q&A) that the Court
 5   attached to its recent order. See Dkt. No. 582-1. As for distribution, the parties agree to publish
 6 the revised Q&A on the case website (www.collegeathletecompensation.com) and the website of

 7   the National Collegiate Athletic Association (NCAA).         The parties further agree that the
 8   publication of the Q&A on the NCAA’s website will include a link to the case website.
 9          Given that prospective and current student-athletes are frequently approaching NCAA
10 member institutions with clarifying questions about the settlement, the parties respectfully request

11 the Court’s approval to provide NCAA member institutions with a standardized communication

12 that they can provide on request to prospective and current student-athletes. The proposed

13 communication directs prospective and current student-athletes to the case website and the

14 NCAA’s webpage with publication of the Q&A and attaches a copy of the Q&A. See Q&A

15 Communication for NCAA Member Institutions (attached hereto as Exhibit A).

16                                           CONCLUSION
17          The parties respectfully request that the Court issue an Order approving publication of the
18 revised Q&A document (Dkt No. 582-1) on the case website and the NCAA’s website and

19 distribution of a standardized communication (Exhibit A) by NCAA member institutions.

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 1                                 SIGNATURE CERTIFICATION
 2          I, Rakesh N. Kilaru, am the CM/ECF user whose ID and password are being used to file
 3   this Supplemental Brief in Support of Joint Motion for Approval of Additional Settlement Class
 4   Communications. In compliance with Local Rule 5-1(i)(3), I hereby attest that concurrence in the
 5 filing of this document has been obtained from each of the other signatories.

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